Case 1:25-cr-20035-FAM Document 24 Entered on FLSD Docket 02/04/2025 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 25-CR-20035

  UNITED STATES OF AMERICA

  v.

  LUCAS SEDENO RODRIGUEZ et al.,

        Defendants.
  ____________________________________/

  UNITED STATES’ UNOPPOSED MOTION TO CONTINUE DEFENDANT JOSE LUIS
                      VILLARES’S ARRAIGNMENT

         The United States of America, through the undersigned Assistant United States Attorney,

  submits this unopposed motion for the Court to continue the Preliminary Hearing and Arraignment

  for Defendant Jose Luis Villares, currently set for February 4, 2025, through at least February 11,

  2025, and as good cause states as follows:

         1.      The Defendant is charged by Indictment with transporting aliens in the United

  States and conspiracy thereof, in violation of Title 8, United States Code, Sections

  1324(a)(1)(A)(ii) and 1324(a)(1)(A)(v)(I).

         2.      The Defendant made his initial appearance on January 21, 2025. See Minute Order,

  ECF No. 5. The Court also appointed Nayib Hassan to represent the Defendant. Id. Shortly

  thereafter, the parties agreed to a bond. See Minute Order, ECF No. 20.

         3.      On January 29, 2025, Mr. Villares was released from federal custody and was

  immediately transported to ICE Krome Detention Center.

         4.      Pursuant to Fed. R. Crim. P. 5.1(a)&(c), the Court must conduct a Preliminary

  Hearing within a reasonable time, but no later than 14 days after the initial appearance if the

  defendant is in custody unless, among other provisions, the defendant waives preliminary hearing

                                                  1
Case 1:25-cr-20035-FAM Document 24 Entered on FLSD Docket 02/04/2025 Page 2 of 4




  or an indictment is filed. Alternatively, pursuant to Fed. R. Crim. P. 5.1(d), the Court may extend

  the 14-day timeframe, if the defendant consents, upon a showing of good cause; or, if the defendant

  does not consent, “on showing extraordinary circumstances exist and justice requires the delay.”

         5.      Here, on February 4, 2025, the undersigned conferred in-person with counsel of

  record for the Defendant, who advised that the Defendant consents to this proposed continuance.

  As good cause for the continuance, Mr. Villares was unable to be transported from Krome

  Detention Center to the U.S. Marshalls on time for his arraignment. The United States moves for

  this continuance to have more time to transport Mr. Villares for his arraignment.

         6.      In court today, February 4, 2025, the Honorable Judge Sanchez granted the United

  States’ oral motion for continuance based on the representations above. Undersigned counsel

  informed the Court that a written motion would follow.




                           [SPACE INTENTIONALLY LEFT BLANK.]




                                                  2
Case 1:25-cr-20035-FAM Document 24 Entered on FLSD Docket 02/04/2025 Page 3 of 4




         7.     For the reasons stated above, the United States respectfully requests that the Court

  grant this Motion and find that there is good cause to continue the Arraignment until at least

  February 11, 2025.

                                              Respectfully submitted,

                                              HAYDEN P. O’BYRNE
                                              UNITED STATES ATTORNEY

                               By:            /s/Andres E. Chinchilla
                                              Andres E. Chinchilla
                                              Assistant United States Attorney
                                              Special Bar No. A5503151
                                              99 N.E. 4th Street
                                              Miami, FL 33132
                                              (305) 961-9102
                                              Andres.Chinchilla2@usdoj.gov




                                                 3
Case 1:25-cr-20035-FAM Document 24 Entered on FLSD Docket 02/04/2025 Page 4 of 4




                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 4, 2025, I electronically filed the foregoing with

  the Clerk of the Court using CM/ECF.

                                     By:    /s/ Andres E. Chinchilla
                                            Andres E. Chinchilla
                                            Assistant United States Attorney




                                               4
